Case 2:20-cv-00517-JTM-JVM Document 255-2 Filed 10/16/23 Page 1 of 2

From: KB Assistant <kbassistant @jeffersonneuro.com>
Sent: Wednesday, September 20, 2023 10:44 AM

To: hopeaphelps@outlook.com

Subject: Re: Jerry Rogers, Jr.

importance: High

Good morning,
Attached is a link to the records requested for the subpoena received on September 11, 2023.

If you have any questions or concerns, please let me know.

Rogers, Jr., Jerry

Sincerely,

Jamila Nery

Executive Assistant to Kevin Bianchini, PhD, FACPN
Jefferson Neurobehavioral Group

2901 North I-10 Service Road E

Suite #300

Metairie, LA 70002

Direct: 504.332.0181

Main: 504.780.1702

Fax: 504.780.1705
kbassistant@JeffersonNeuro.com

PRIVACY AND CONFIDENTIALITY WARNING

This E-mail may contain Protected Health Information, Individually Identifiable Health Information and
other information which is protected by law. The information is intended only for the use of the
intended recipient. If you are not the intended recipient, you are hereby notified that any review,
disclosure/re-disclosure, copying, storing, distributing or the taking of action in reliance on the content
of this E-mail and any attachments thereto, is strictly prohibited. If you have received this E-mail in
error, please notify the sender immediately and destroy the contents of this E-mail and its
attachments by deleting any and all electronic copies and any and all hard copies regardless of where
they are maintained or stored.

From: KB Assistant
Sent: Tuesday, September 12, 2023 12:14 PM
Case 2:20-cv-00517-JTM-JVM Document 255-2

To: hopeaphelps@outlook.com <hopeaphelps@outlook.com>
Subject: Jerry Rogers, Jr.

Good afternoon,
Attached please find the invoice for the subpoena request.

Sincerely,

Jamila Nery

Executive Assistant to Kevin Bianchini, PhD, FACPN
Jefferson Neurobehavioral Group

2901 North I-10 Service Road E

Suite #300

Metairie, LA 70002

Direct: 504.332.0181

Main: 504.780.1702

Fax: 504.780.1705
kbassistant@JeffersonNeuro.com

PRIVACY AND CONFIDENTIALITY WARNING

This E-mail may contain Protected Health Information, Individually Identifiable Health Information and
other information which is protected by law. The information is intended only for the use of the
intended recipient. If you are not the intended recipient, you are hereby notified that any review,
disclosure/re-disclosure, copying, storing, distributing or the taking of action in reliance on the content
of this E-mail and any attachments thereto, is strictly prohibited. If you have received this E-mail in

Filed 10/16/23

Page 2 of 2

error, please notify the sender immediately and destroy the contents of this E-mail and its

attachments by deleting any and all electronic copies and any and all hard copies regardless of where

they are maintained or stored.
